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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

CIVIL ACTION 49 CV 5 0 a 1

 

 

 

 

UNITED STATES,
STATE OF TEXAS, et al

ex rel. BRIDGETTE JACOBS,
Plaintiffs,
Vv.

§
§
§
§
§ JURY DEMANDED
:
WALGREEN COMPANY, §
§
§

Defendant. IN CAMERA

 

PLAINTIFFS’ ORIGINAL COMPLAINT |

 

TO THE HONORABLE USS. DISTRICT COURT JUDGE:

Relator Bridgette Jacobs (“Relator”), for and in the name of the United States, the State of
Texas, and similarly situated States, complains of and about Defendant Walgreen Company
(hereinafter referred to as “Walgreens” or “Defendant”), files this Original Complaint, and will

show onto the Court as follows:

I. PARTIES
1. Relator Bridgette Jacobs is an individual residing in Fort Bend County, Texas.
2. The United States, Plaintiff, prior to the intervention of the United States Attorney,

is represented by Relator, pursuant to 31 U.S.C. § 3730(b)(1) (2012).
3. The State of Texas and similarly situated States are represented by Relator, prior to
the intervention of the Texas Attorney General or any counsel of the States’ choosing, pursuant to

Section 36.101 of the Texas Human Resources Code and similar State statutes prohibiting fraud

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE | OF 12
Case 4:19-cv-05021 Document1 Filed on 12/30/19 in TXSD Page 2 of 12

on State Medicaid and similar programs. TEX. HUM. RES. CODE § 36.101 (West 2019).

4. Defendant Walgreen Company is a foreign for-profit corporation incorporated in
the State of Delaware and headquartered in the State of Illinois. Walgreens regularly conducts
business in Harris County, Texas. Walgreens may be served with process by serving its registered
agent, Corporate Service Company, at 251 Little Falls Drive, Wilmington, DE, 19808.

Il. JURISDICTION

5. This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as Plaintiffs’ causes of
action arise under federal statutes, namely the False Claims Act, 31 U.S.C. §§ 3729-3733, as
amended.

6. Additionally, this Court has supplemental jurisdiction over Plaintiffs’ similar state
law claims, pursuant to 28 U.S.C. § 1367, because such claims are so related to the claims within
the Court’s original jurisdiction that they form part of the same case or controversy, under Article
3 of the United States Constitution.

7. Venue is proper in the Southern District of Texas — Houston Division, pursuant to
28 U.S.C. § 1391(a), because this is the judicial district where a substantial part of the events or
omissions giving rise to Plaintiffs’ claims occurred.

II. NATURE OF THE ACTION

8. This action is brought pursuant to the False Claims Act, the Texas Medicaid Fraud
Prevention Act, and similar legislation of the other States, on the grounds that Defendant
unlawfully and knowingly presented, or caused to be presented, false or fraudulent claims for
payment to the United States, the State of Texas, under the Texas Medicaid program, and similarly
situated States, under their respective Medicaid programs, in violation of said statutes. 31 U.S.C.

§ 3729(a)(1)(A), TEX. HUM. RES. CODE § 36.002. Defendant further knowingly made, used, and

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 2 OF 12
Case 4:19-cv-05021 Document1 Filed on 12/30/19 in TXSD Page 3 of 12

caused to be made or used, false records or statements material to its false or fraudulent claim. 31
U.S.C. § 3729(a)(1)(B), TEX. HUM. RES. CODE § 36.002(1)-(2).
IV. FACTS

9. Relator is a licensed pharmacist and has been licensed in the State of Texas for over
twenty-nine (29) years.

10. Relator has been in the employ of Walgreens since November 2002.

11. All statements of fact contained in this Complaint are within Relator’s personal
knowledge.

12. Throughout Relator’s tenure, Walgreens has been repeatedly, persistently, and
openly submitting incorrect and fraudulent requests for reimbursement to Medicare and Medicaid
, programs (“Programs”), from requesting that the Programs pay for the prescription medication
under the name of a physician that was not treating the patient requesting a prescription to be filled,
to dispensing incorrect quantities of drugs billed in the reimbursement claims submitted to the
Programs, to never reversing the charges to the Programs for wrongly dispensed prescription
drugs.

13. Walgreens uses an electronic system to manage the incoming prescriptions from
licensed physicians.

14. | When a prescription is filled by Walgreens wrongly, a mistake is entered manually
or automatically into the system.

15. For internal reporting purposes, a mistake on Walgreens electronic systems needs
to be resolved or “closed” within the prescribed timeframe.

16. Federal and State law also requires that Walgreens would reverse the mistakenly

billed charges to the Programs and resubmit requests for reimbursement with the correct

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 3 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 4 of 12

medication name, correct medication amount and quantity, and correct physician’s name.

17. While Walgreens would, in most cases, eventually dispense correct medications to
the patients, Walgreens would habitually not reverse the charges to the Programs and maintain the
claims on the basis of the incorrect bills.

18. | Walgreens would further “close” the mistakes on its internal systems, after the
mistakes are discovered, but never make the “closed” mistakes known to the Programs’
administrator.

19. | Moreover, Walgreens would regularly, persistently, and habitually delete wrongly
dispensed prescriptions from patients’ profiles on its internal systems, without reporting a
correction of its own errors to the Programs.

20. In June 2019, while reviewing a refill request, Relator noticed that the prescription
on the request was incorrectly typed and dispensed.

21. HCTZ 25mg tablets (diuretic) was what the doctor prescribed to the patient, but
Hydralazine 25mg tablets (vasodilator) was typed into Walgreens systems and dispensed to the
patient.

22. The initial prescription for the patient was dispensed in January 2019 and refilled
each month for the next four months incorrectly, to a total of 5 months, without any pharmacist
noticing the medication error.

23. The doctor had clearly typed that HCTZ 25mg was to be dispensed.

24. | The patient was contacted by the pharmacy but did not seem to have understood
that he had been taking the wrong medication for five months, because he barely spoke English
and was elderly.

25. | The Walgreens pharmacy in question informed the prescribing physician of the

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 4 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 5 of 12

dispensing error, and the physician instructed to re-dispense the drug as prescribed, which was
eventually done.

26. Hydralazine 25mg was billed to and paid for by Medicare and is not, to Relator’s
knowledge, a generic or other substitute for HCTZ.

27. | The mistake was either “closed” on Walgreens’ internal systems after the
conversation with the prescribing physician or never documented therein as such at all.

28. To the best of Relator’s knowledge, no reversal was done by Walgreens of prior
charges to the Programs.

29. On September 5, 2019, Relator received a call from a very upset nurse, asking
Relator to look at a patient’s medication order from August 2019 and to tell the nurse what the
order was written for.

30. _ Relator, having reviewed the prescription, immediately told the nurse that the order
was for Luvox 150mg, which is a medication that treats major depressive disorders.

31. The nurse confirmed that the prescription was correct.

32. The nurse, however, asked Relator why the pharmacist at Walgreens dispensed
Levothyroxine 150mg, which is a thyroid medication, to the patient.

33. The nurse told Relator that the patient was new to the nurse’s facility and was in a
desperate need to be timely put on Luvox.

34. | When the patient was admitted to the nurse’s facility, he was told to bring all his
new medications for a check, which uncovered the incorrect prescription.

35. | The nurse said she obtained permission from her supervisor to take the patient back
to the Walgreens pharmacy, because she thought the medication quantity was incorrect.

36. | The nurse asked the pharmacist on duty to check the original order and make sure

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 5 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 6 of 12

everything was correct.

37. Instead of verifying the prescription, the pharmacist loaned the patient more
Levothyroxine 150mg and requested a refill approval for more Levothyroxine 150mg.

38.  Relator’s review of patient’s file at Walgreens revealed that the patient took
Levothyroxine, one tablet twice a day, for a month, instead of Luvox.

39. Levothyroxine was billed to the Programs.

40. In August 2019, Relator noticed that Walgreens was habitually dispensing
Fluticasone Nasal Spray (Rx), qty size 16, a medication that is covered by Medicaid, instead of
the Flonase Allergy Spray, qty size 6.6 or 15.8 (both being over-the-counter and not covered by
Medicaid), without contacting the prescribing physicians for approval to dispense a different
quantity of the medication or a substitute medication, as required by the Programs.

41. Relator reported the substitution practices to the Medicare Fraud Hotline, with
Relator’s report being assigned a reference no. 2019-271906.

42. ‘There is an ongoing fraud on the Programs, with Walgreens wrongly dispensing
Diclofenac 1% topical gel to the Medicare age group for joint pain relief.

43. Relator noticed that prescribing physicians would habitually write only the
frequency of application of Diclofenac, but not the correct quantity to be dispensed and applied.

44. It is the pharmacist’s duty to verify the correct number of tubes of the medication
to be dispensed to patients.

45. | Walgreens would habitually dispense a number of tubes the specific pharmacist
would deem fit to patients, without verifications, and fraudulently bill the number dispensed to the
Programs.

46. Relator witnessed Walgreens pharmacy manager instruct technicians under their

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 6 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 7 of 12

supervision to add mosquito repellants to the patients’ medicine bags when patients would be
getting prenatal vitamins, on the premise that the prescription count was down.

47. | The manager also instructed technicians to remind patients that the repellent spray
was free and that they could get a new can every 15 days.

48. In fact, the mosquito repellent spray in question is not free, but simply free to the
patients, with Medicaid footing the bill in most cases, without any justification or need.

49. _ Relator also noticed an ongoing issue with Walgreens wrongly dispensing Pedialyte
Liquid.

50. _ Referring physicians would routinely send e-prescriptions saying “Dispense
Pedialyte x2ml,” without specifying the volume of the bottle or the correct quantity of medication
to dispense.

51. In order to correctly bill the Programs, Walgreens pharmacists would have to call
the physicians and verify the quantity of the medication.

52. Instead, pharmacists would routinely dispense two 1000ml bottles to patients and
bill the Programs for them, without contacting physicians first.

53. Earlier this year, an infant patient was prescribed a certain quantity of antibiotics
by their physician.

54. | Walgreens dispensed the amount that did not match the prescription and billed the
Programs for the price of the amount dispensed.

55. After the infant patient’s parents informed Walgreens of its mistake, one of the
parents came into the Walgreens pharmacy to receive the correct amount of the prescribed
medicine.

56. | The pharmacist on duty deleted a prior, incorrect prescription from the Walgreens

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 7 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 8 of 12

internal system and then simply created a new prescription for the full and correct amount of
medication, while dispensing only the amount of medication missing from the previous order to
match the prescription, with Walgreens again billing the Programs for the medicine.

57. The above are just very few examples of a nationwide and entrenched scheme to
defraud the Programs.

58. Relator brought all of the above and many other matters to the attention of
Walgreens, but nothing was done.

59. To the opposite, Walgreens attempted and attempts to cover up every single
statutory violation and gets rid of the inconvenient employees that comply with the statute and
report the errors and billing deficiencies.

60.  Relator’s colleagues were threatened by Walgreens with termination if they made
or reported errors with dispensing or accounting for medications that are billed to the Programs.

61. A pharmacy manager at one of the Walgreens locations was terminated by
Walgreens after she reported mistakes uncovered in the store under her supervision.

62. The terminated pharmacy manager uncovered an estimated total of 50 mistakes in
a matter of weeks, with all 50 made in the preceding year.

V. SECTION 3729(a)(1)(A) FRAUD ON MEDICARE

63. Relator incorporates all of the foregoing paragraphs as if stated herein by reference.

64. | Under the False Claims Act, a person who knowingly presents, or causes to be
presented, a false or fraudulent claim for payment to the United States government, including the
agency administering the Programs, is liable to the United States government. 31 U.S.C. §
3729(a)(1)(A), see United States ex rel. Lemon v. Nurses To Go, Inc., 924 F.3d 155, 159 (Sth Cir.

2019).

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 8 OF 12
Case 4:19-cv-05021 Document1 Filed on 12/30/19 in TXSD Page 9 of 12

65. Walgreens has been and is presenting claims for payment to the Programs that are
false and fraudulent.

66. | Walgreens knew and knows of the errors on the claims it submits to the Programs,
but elects not to report them, maintaining erroneous and excessive claims for reimbursement from
the Programs.

67. | Walgreens further tries to and does cover up the known errors on its claims for
reimbursement presented to the Programs, without reversing or correcting the claims.

68. | Assuch, Walgreens knowingly and habitually presents false and fraudulent claims
and commits an offense under the False Claims Act.

VI. SECTION 3729(a)(1)(B) MEDICARE FRAUD
69. Relator incorporates all of the foregoing paragraphs as if fully stated herein by
reference.

70. Under the False Claims Act, a person who knowingly makes, uses, or causes to be
made or used, a false record or statement material to a false or fraudulent claim is liable to the

United States government. 31 U.S.C. § 3729(a)(1)(B).

71. | Walgreens used false and fraudulent records to submit claims for reimbursement to
the Programs.

72. Walgreens knew and knows that the records were false and incorrect.

73. Instead of correcting the errors, reversing the charges, and resubmitting correct

claims, Walgreens covers up the errors on its records and maintains the claims on the basis of the
false records.
74. The records reflecting what, what quantity, and to whom the medications were

dispensed form the basis of Walgreens’ claims for reimbursement.

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 9 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 10 of 12

75.  Assuch, Walgreens is in violation of Section 3729(a)(1)(B).
VI. MEDICAID FRAUD

76. Relator incorporates all of the foregoing paragraphs as if fully stated herein by
reference.

77. Under Texas Medicaid Fraud Prevention Act and similar statutes of the other States,
a person who knowingly makes or causes to be made a false statement or misrepresentation of a
material fact to permit a person to receive a benefit or payment under the Medicaid program that
is not authorized or that is greater than the benefit or payment that is authorized commits an
unlawful act. TEX. HUM. RES. CODE § 36.002(1).

78. | Walgreens made representations and statements to the Texas Medicaid program
and Medicaid programs of the other States to receive reimbursement for the disbursement of
prescription medications to Medicaid patients.

79. As it was abundantly demonstrated above, many of those representations and
statements are known to Walgreens to be incorrect and false.

80. The said statements and representations form the basis of Walgreens’ Medicaid
reimbursement claims.

81. The statements and representations allowed and still allow Walgreens to receive
payments and benefits that are not authorized or that are significantly in excess of what is
authorized by the programs.

82. Therefore, Walgreens is committing fraud on the Texas Medicaid program and
similar Medicaid programs of other States.

VII. PRAYER

In the light of everything set forth above, Relator respectfully asks that Defendant be cited

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 10 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 11 of 12

to appear and answer herein and that, at final trial, Plaintiffs have judgment against Defendant for:
a. All damages to which Plaintiffs may be entitled pursuant to this Original Complaint or any
amendments hereto;

b. A civil penalty of not less than $5,000 and not more than $10,000, as adjusted by the
Federal Civil Penalties Inflation Adjustment Act of 1990, per each violation of the False Claims
Act;

c. Three times the amount of damages that the federal government has sustained because of

the unlawful acts of Defendant;

d. Reasonable attorneys’ fees, as allowed by applicable law (with conditional awards in the

event of appeal);

€. Pre-judgment and post-judgment interest until paid at the highest rate permitted by law;
g. Costs of court; and
h. Such other and further relief, at law, whether State or federal, or in equity, to which

Plaintiffs may be justly entitled.

Relator further respectfully requests that Relator be granted an award within the limits and
as permitted under 31 U.S.C. §3730(d), Section 360.110 of the Texas Human Resources Code,
and the laws of the similarly situated States on whose Medicaid programs Defendant committed

fraud.

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 11 OF 12
Case 4:19-cv-05021 Document 1 Filed on 12/30/19 in TXSD Page 12 of 12

Respectfully submitted,

Alfonso Kennard, Jr.

Texas Bar No.: 24036888

Southern District No: 713316

2603 Augusta Dr., Suite 1450

Houston, TX 77057

Telephone No.: (713) 742-0900

Fax No.: (713) 742-0951

E-Mail: Alfonso.Kennard@kennardlaw.com
ATTORNEY-IN-CHARGE FOR RELATOR

 

 

PLAINTIFFS’ ORIGINAL COMPLAINT PAGE 12 OF 12

 
